                                      Case 18-21823              Doc 1        Filed 09/06/18           Page 1 of 52

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BallCantina, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Pepita Cantina
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12154 Darnestown Road, Ste 621
                                  Gaithersburg, MD 20878
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  4000 Wilson Blvd, Ste D Arlington, VA 22203
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                        Case 18-21823               Doc 1         Filed 09/06/18              Page 2 of 52
Debtor    BallCantina, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                     Case 18-21823                 Doc 1        Filed 09/06/18            Page 3 of 52
Debtor   BallCantina, LLC                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 18-21823                Doc 1        Filed 09/06/18             Page 4 of 52
Debtor    BallCantina, LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 6, 2018
                                                  MM / DD / YYYY


                             X   /s/ Johannes Allender                                                    Johannes Allender
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Richard J. Oparil                                                     Date September 6, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard J. Oparil
                                 Printed name

                                 Porzio, Bromberg & Newman, P.C.
                                 Firm name

                                 1200 New Hampshire Avenue, NW
                                 Washington, DC 20036-6802
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      rjoparil@pbnlaw.com

                                 13063
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     BallCantina, LLC                                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     14WBella, LLC                                                           Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     BallKap, LLC                                                            Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     BallNoodle, LLC                                                         Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     CPKap, LLC                                                              Relationship to you               Affiliate
District   Maryland                                   When     9/06/18             Case number, if known             18-21808
Debtor     Masskap, LLC                                                            Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Mike Isabella, Inc.                                                     Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Mosakap, LLC                                                            Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Tyisa, LLC                                                              Relationship to you               Affiliate
District                                              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
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 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 6, 2018                       X /s/ Johannes Allender
                                                                       Signature of individual signing on behalf of debtor

                                                                       Johannes Allender
                                                                       Printed name

                                                                       CFO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                             Case 18-21823                Doc 1         Filed 09/06/18               Page 12 of 52


 Fill in this information to identify the case:
 Debtor name BallCantina, LLC
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alsco                                                           Trade Payable                                                                                                $600.68
 4900 Philadelphia
 Way
 Lanham, MD 20706
 Arlington County                                                Taxes                                                                                                      $5,495.00
 Treasurer
 P.O. Box 1754
 Merrifield, VA
 22116-1754
 Baldor Specialty                                                Trade Payable                                                                                              $1,175.40
 Foods, Inc.
 155 Food Center
 Drive
 Bronx, NY 10474
 Capital Meat Co.                                                Trade Payable                                                                                              $5,483.51
 P.O. Box 3117
 Hyattsville, MD
 20784
 Coastal Sunbelt                                                 Trade Payable                                                                                                $653.90
 Produce
 8704 Bollman Place
 Savage, MD 20763
 CT Corporation                                                  Trade Payable                                                                                                $282.02
 P.O. Box 4349
 Carol Stream, IL
 60197-4349
 Dominion Virginia                                               Trade Payable                                                                                              $1,074.42
 Power
 P.O. Box 26543
 Richmond, VA
 23290-0001
 Gabriel Monroy                                                  Trade Payable                                                                                                $425.00
 3404 Castle Way
 Silver Spring, MD
 20904




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    BallCantina, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hospitality                                                     Trade Payable                                                                                            $34,742.99
 Construction
 Services Inc.
 840 Lake Varuna
 Mews
 Gaithersburg, MD
 20878
 JRS Associates, Inc.                                            Trade Payable                                                                                            $24,060.97
 6393A Rockburn Hill
 Road
 Elkridge, MD 21075
 Julius Silvert, Inc.                                            Trade Payable                                                                                            $10,929.13
 P.O. Box 824559
 Philadelphia, PA
 19182-4559
 Kelly Health                                                    Trade Payable                                                                                              $1,936.28
 Insurance
 P.O. Box 418926
 Boston, MA
 02241-8926
 LDV Imports                                                     Trade Payable                                                                                                  $71.00
 130 West 25th
 Street, Floor 7
 New York, NY 10001
 Open Table, Inc.                                                Trade Payable                                                                                              $1,920.75
 P.O. Box 671198
 Dallas, TX 75267
 Oracle America, Inc.                                            Trade Payable                                                                                                $673.95
 P.O. Box 203448
 Dallas, TX
 75320-3448
 Pepsi-Cola                                                      Trade Payable                                                                                                $601.26
 75 Remittance Drive,
 Suite 1884
 Chicago, IL
 60675-1884
 Samuels & Son                                                   Trade Payable                                                                                                $469.66
 Seafood Co.
 3400 S Lawrence St
 Philadelphia, PA
 19148
 The View at Liberty                                             Rent                                                                                                       $4,558.10
 Center
 c/o Buzzoto
 Management
 Company
 Attn: Leasing Office
 4000 Wilson
 Boulevard
 Arlington, VA 22203




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    BallCantina, LLC                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 VEGA Pest                                                       Trade Payable                                                                                                  $75.00
 Elimination
 611 Hollywood Ave
 Silver Spring, MD
 20904
 Velocity Marketing                                              Trade Payable                                                                                                $731.45
 Services
 P.O. Box 718
 Edgewater, MD
 21037




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                 Case 18-21823                            Doc 1              Filed 09/06/18                         Page 15 of 52
 Fill in this information to identify the case:

 Debtor name            BallCantina, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           663,039.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            42,904.98

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           705,943.98


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           200,943.45


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              5,495.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           227,922.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             434,360.69




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                        Case 18-21823                Doc 1      Filed 09/06/18       Page 16 of 52
 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $200.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     EagleBank                                               Checking                        2766                                             $0.00




           3.2.     EagleBank                                               Checking                        7664                                             $0.00




           3.3.     TD Bank                                                 Checking                        7490                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $200.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                        Case 18-21823                   Doc 1      Filed 09/06/18        Page 17 of 52

 Debtor         BallCantina, LLC                                                                 Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Perishable Goods that
           Landlord has onsite                        07/31/2018                         $10,725.97     Recent cost                       $10,725.97




 23.       Total of Part 5.                                                                                                           $10,725.97
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                        Case 18-21823                 Doc 1     Filed 09/06/18        Page 18 of 52

 Debtor         BallCantina, LLC                                                              Case number (If known)
                Name


        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Restaurant Furniture - Landlord has all fixed
           assets onsite.                                                             $10,595.46     Recent cost                        $10,595.46



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Kitchen and computer equipment. Landlord
           has all fixed assets onsite.                                               $21,383.55     Recent cost                        $21,383.55



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $31,979.01
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 4000 Wilson Blvd, Ste
                     D                                    Leasehold
                     Arlington, VA 22203                  Improvements               $663,039.00     Recent cost                       $663,039.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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                                        Case 18-21823                Doc 1      Filed 09/06/18         Page 19 of 52

 Debtor         BallCantina, LLC                                                              Case number (If known)
                Name



 56.        Total of Part 9.                                                                                                         $663,039.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Internet domain                                                            Unknown                                             Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                                            Case 18-21823                      Doc 1            Filed 09/06/18                       Page 20 of 52

 Debtor          BallCantina, LLC                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                      Current value of real
                                                                                                     personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $200.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $10,725.97

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $31,979.01

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                          $663,039.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $42,904.98            + 91b.              $663,039.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $705,943.98




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                            Case 18-21823                 Doc 1        Filed 09/06/18               Page 21 of 52
 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
       American Express
 2.1                                                                                                                            $57,779.25                      $0.00
       Merchant Financing                             Describe debtor's property that is subject to a lien
       Creditor's Name                                Loan
       P.O. Box 981555
       El Paso, TX 79998-1555
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   EagleBank                                      Describe debtor's property that is subject to a lien                    $143,164.20                       $0.00
       Creditor's Name

       130 Rollins Avenue
       Rockville, MD 20852
       Creditor's mailing address                     Describe the lien
                                                      Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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                                        Case 18-21823                   Doc 1   Filed 09/06/18              Page 22 of 52
 Debtor       BallCantina, LLC                                                                   Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $200,943.45

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                        Case 18-21823                      Doc 1            Filed 09/06/18                   Page 23 of 52
 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Alonso Ortez, Carlos                                      Check all that apply.
           2301 11th St N                                               Contingent
           Apt 304                                                      Unliquidated
           Arlington, VA 22201                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                   $0.00      $0.00
           Amaya, Christopher                                        Check all that apply.
           4427 31 St St S                                              Contingent
           Apt 12                                                       Unliquidated
           Arlington, VA 22206                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 11
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                                        Case 18-21823                      Doc 1            Filed 09/06/18              Page 24 of 52
 Debtor       BallCantina, LLC                                                                                Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,495.00    $0.00
          Arlington County Treasurer                                 Check all that apply.
          P.O. Box 1754                                                 Contingent
          Merrifield, VA 22116-1754                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Bachan, Wenceslao                                          Check all that apply.
          3823 N Pershing Dr                                            Contingent
          Apt 1                                                         Unliquidated
          Arlington, VA 22203                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Benavides, Nicole                                          Check all that apply.
          935 S Wakefield St                                            Contingent
          Arlington, VA 22204                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Brantley, Calvin A                                         Check all that apply.
          2502 S Arlington Mill Drive                                   Contingent
          Apt E                                                         Unliquidated
          Arlington, VA 22206                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 11
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                                        Case 18-21823                      Doc 1            Filed 09/06/18              Page 25 of 52
 Debtor       BallCantina, LLC                                                                                Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Bull, James                                                Check all that apply.
          2001 Columbia Pike                                            Contingent
          Apt 606                                                       Unliquidated
          Arlington, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Chavez Aguilar, Edwin W                                    Check all that apply.
          225 North Glebe Road                                          Contingent
          Apt 1                                                         Unliquidated
          Arlington, VA 22203                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Chavez, Jose                                               Check all that apply.
          4303 N Pershing Dr                                            Contingent
          #4                                                            Unliquidated
          Arlington, VA 22203                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Encarnacion Ortega, Jose A                                 Check all that apply.
          6101 Edsall Rd                                                Contingent
          Apt 106                                                       Unliquidated
          Alexandria, VA 22304                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 11
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 Debtor       BallCantina, LLC                                                                                Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ferrufino Reyes, Mildred G                                 Check all that apply.
          804 S Greenbrier St 8th Rd                                    Contingent
          Apt 3                                                         Unliquidated
          Arlington, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Guerrero, Mario                                            Check all that apply.
          5521 3rd St                                                   Contingent
          Arlington, VA 22204                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hernandez, Michael                                         Check all that apply.
          4350 N Pershing Dr                                            Contingent
          Arlington, VA 22203                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Lopez Cabrera, Yessi                                       Check all that apply.
          3922 4th St                                                   Contingent
          Arlington, VA 22203                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 11
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                                        Case 18-21823                      Doc 1            Filed 09/06/18              Page 27 of 52
 Debtor       BallCantina, LLC                                                                                Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Lopez, Edilzar                                             Check all that apply.
          3926 4th St N                                                 Contingent
          Apt 4                                                         Unliquidated
          Arlington, VA 22203                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Martinez Rosa, Melva B                                     Check all that apply.
          3428 Carlin Spring Rd                                         Contingent
          Falls Church, VA 22041                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Martinez, Karen                                            Check all that apply.
          3064 Patrick Henry Dr                                         Contingent
          Arlington, VA 22044                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Martinez, Martha A                                         Check all that apply.
          3061 Patrick Henry                                            Contingent
          Falls Church, VA 22044                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 5 of 11
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                                        Case 18-21823                      Doc 1            Filed 09/06/18              Page 28 of 52
 Debtor       BallCantina, LLC                                                                                Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rivera, Nolberta                                           Check all that apply.
          3722 S 16th St                                                Contingent
          Arlington, VA 22204                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rosa, Flor D                                               Check all that apply.
          3428 Carlin Springs Rd                                        Contingent
          Falls Church, VA 22041                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rosas Ayala, Luis C                                        Check all that apply.
          415 North Thomas St                                           Contingent
          Apt 1                                                         Unliquidated
          Arlington, VA 22203                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Servellon Ramirez, Roxana P                                Check all that apply.
          1134 Wakefield St                                             Contingent
          Apt A                                                         Unliquidated
          Arlington, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 6 of 11
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                                        Case 18-21823                      Doc 1            Filed 09/06/18              Page 29 of 52
 Debtor       BallCantina, LLC                                                                                Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Tista Bachan, Edgar                                        Check all that apply.
          5801 Black Hawk Dr                                            Contingent
          Oxon Hill, MD 20745                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Tomas Diaz, Lidia                                          Check all that apply.
          4317 N Pershing Drive                                         Contingent
          Apt 4                                                         Unliquidated
          Arlington, VA 22203                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Urquilla Gonzalez, Jose I                                  Check all that apply.
          804 S Greenbrier St                                           Contingent
          Apt 3                                                         Unliquidated
          Arlington, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Urquilla Gonzalez, Marlene C                               Check all that apply.
          804 S Greenbrier St                                           Contingent
          Arlington, VA 22204                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 7 of 11
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 Debtor        BallCantina, LLC                                                                               Case number (if known)
               Name

 2.27       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            Vargas Ayala, Raul                                       Check all that apply.
            5521 3rd St S                                               Contingent
            Arlington, VA 22204                                         Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Notice Only
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $42,913.92
           14wBella, LLC                                                               Contingent
           12154 Darnestown Road, Ste 621                                              Unliquidated
           Gaithersburg, MD 20878                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Loan
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $600.68
           Alsco                                                                       Contingent
           4900 Philadelphia Way                                                       Unliquidated
           Lanham, MD 20706                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $1,175.40
           Baldor Specialty Foods, Inc.                                                Contingent
           155 Food Center Drive                                                       Unliquidated
           Bronx, NY 10474                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $31,131.33
           BellKap, LLC                                                                Contingent
           12154 Darnestown Road, Ste 621                                              Unliquidated
           Gaithersburg, MD 20878                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Loan
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $5,483.51
           Capital Meat Co.                                                            Contingent
           P.O. Box 3117                                                               Unliquidated
           Hyattsville, MD 20784                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade Payable
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 8 of 11
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 Debtor       BallCantina, LLC                                                                        Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $653.90
          Coastal Sunbelt Produce                                               Contingent
          8704 Bollman Place                                                    Unliquidated
          Savage, MD 20763                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $282.02
          CT Corporation                                                        Contingent
          P.O. Box 4349                                                         Unliquidated
          Carol Stream, IL 60197-4349                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,074.42
          Dominion Virginia Power                                               Contingent
          P.O. Box 26543                                                        Unliquidated
          Richmond, VA 23290-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $425.00
          Gabriel Monroy                                                        Contingent
          3404 Castle Way                                                       Unliquidated
          Silver Spring, MD 20904                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,742.99
          Hospitality Construction Services Inc.                                Contingent
          840 Lake Varuna Mews                                                  Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,060.97
          JRS Associates, Inc.                                                  Contingent
          6393A Rockburn Hill Road                                              Unliquidated
          Elkridge, MD 21075                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,929.13
          Julius Silvert, Inc.                                                  Contingent
          P.O. Box 824559                                                       Unliquidated
          Philadelphia, PA 19182-4559                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 11
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              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,936.28
          Kelly Health Insurance                                                Contingent
          P.O. Box 418926                                                       Unliquidated
          Boston, MA 02241-8926                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $71.00
          LDV Imports                                                           Contingent
          130 West 25th Street, Floor 7                                         Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          Masskap, LLC                                                          Contingent
          12154 Darnestown Road, Ste 621                                        Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,811.52
          Mike Isabella, Inc.                                                   Contingent
          12154 Darnestown Road, Ste 621                                        Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,920.75
          Open Table, Inc.                                                      Contingent
          P.O. Box 671198                                                       Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $673.95
          Oracle America, Inc.                                                  Contingent
          P.O. Box 203448                                                       Unliquidated
          Dallas, TX 75320-3448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $601.26
          Pepsi-Cola                                                            Contingent
          75 Remittance Drive, Suite 1884                                       Unliquidated
          Chicago, IL 60675-1884                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 11
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              Name

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $469.66
           Samuels & Son Seafood Co.                                            Contingent
           3400 S Lawrence St                                                   Unliquidated
           Philadelphia, PA 19148                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,558.10
           The View at Liberty Center
           c/o Buzzoto Management Company                                       Contingent
           Attn: Leasing Office                                                 Unliquidated
           4000 Wilson Boulevard                                                Disputed
           Arlington, VA 22203
                                                                             Basis for the claim:    Rent
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $75.00
           VEGA Pest Elimination                                                Contingent
           611 Hollywood Ave                                                    Unliquidated
           Silver Spring, MD 20904                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $731.45
           Velocity Marketing Services                                          Contingent
           P.O. Box 718                                                         Unliquidated
           Edgewater, MD 21037                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         5,495.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       227,922.24

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          233,417.24




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 11 of 11
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 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Rent
             lease is for and the nature of
             the debtor's interest
                                                                                    The View at Liberty Center
                  State the term remaining                                          c/o Buzzoto Management Company
                                                                                    Attn: Leasing Office
             List the contract number of any                                        4000 Wilson Boulevard
                   government contract                                              Arlington, VA 22203




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      14WBella, LLC                     12154 Darnestown Road, Ste 621                    EagleBank                          D   2.2
                                               Gaithersburg, MD 20878                                                               E/F
                                                                                                                                    G




    2.2      BallNoodle, LLC                   12154 Darnestown Road, Ste 621                    EagleBank                          D   2.2
                                               Gaithersburg, MD 20878                                                               E/F
                                                                                                                                    G




    2.3      BellKap, LLC                      12154 Darnestown Road, Ste 621                    EagleBank                          D   2.2
                                               Gaithersburg, MD 20878                                                               E/F
                                                                                                                                    G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         BallCantina, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $508,875.19
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $957,922.55
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $985,528.94
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       BallCantina, LLC                                                                          Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               VA Dept of ABC                                                                               $20,752.07                Secured debt
               P.O. Box 27491                                                                                                         Unsecured loan repayments
               Richmond, VA 23261-7491                                                                                                Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Baldor Specialty Foods, Inc.                                                                 $15,184.37                Secured debt
               155 Food Center Drive                                                                                                  Unsecured loan repayments
               Bronx, NY 10474
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               The View at Liberty Center                                                                   $13,674.30                Secured debt
               c/o Buzzoto Management Company                                                                                         Unsecured loan repayments
               Attn: Leasing Office                                                                                                   Suppliers or vendors
               4000 Wilson Boulevard                                                                                                  Services
               Arlington, VA 22203
                                                                                                                                      Other


       3.4.
               Julius Silvert, Inc.                                                                         $11,953.85                Secured debt
               P.O. Box 824559                                                                                                        Unsecured loan repayments
               Philadelphia, PA 19182-4559
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.5.
               Capital Meat Co.                                                                               $9,620.64               Secured debt
               P.O. Box 3117                                                                                                          Unsecured loan repayments
               Hyattsville, MD 20784
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor       BallCantina, LLC                                                                             Case number (if known)




           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                    Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and                 Status of case
               Case number                                                                   address
       7.1.    Caras vs. Mike Isabella, Inc.,                   Employment                   U.S. District Court, District                 Pending
               et al                                                                         of Columbi                                    On appeal
               18-cv-00749                                                                   333 Constitution Avenue
                                                                                                                                           Concluded
                                                                                             N.W.
                                                                                             Washington, DC 20001


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss               Value of property
       how the loss occurred                                                                                                                                        lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred            Dates                    Total amount or
                the transfer?                                                                                                                                     value
                Address


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 3
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 Debtor      BallCantina, LLC                                                                            Case number (if known)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      BallCantina, LLC                                                                           Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Johannes Allender
                    117 Kent Oaks Way
                    Gaithersburg, MD 20878

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Johannes Allender
                    117 Kent Oaks Way
                    Gaithersburg, MD 20878

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       EagleBank
                    130 Rollins Avenue
                    Rockville, MD 20852

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
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            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Mark Petonito
       .                                                                                    07/31/2018               $10,725.97

               Name and address of the person who has possession of
               inventory records
               Mark Petonito
               2001 International Drive
               Mc Lean, VA 22102


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mike Isabella, Jr.                             775 Pearl Street, SW #709                           Class A - Active - Managing           33%
                                                      Washington, DC 20024                                Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicholas Pagonis                               1111 W. St NW, Apt 8                                Class A - Active - Managing           17%
                                                      Washington, DC 20009                                Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       George Pagonis                                 1700 Kalorama Road, NW, Apt 405                     Class A - Active - Managing           17%
                                                      Washington, DC 20009                                Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Johannes Allender                              117 Kent Oaks Way                                   Class A - Active - Managing           5%
                                                      Gaithersburg, MD 20878                              Member



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.


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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 6, 2018

 /s/ Johannes Allender                                                  Johannes Allender
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                         District of Maryland
 In re      BallCantina, LLC                                                                                          Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CFO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 6, 2018                                                      Signature /s/ Johannes Allender
                                                                                            Johannes Allender

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       September 6, 2018                                       /s/ Johannes Allender
                                                                     Johannes Allender/CFO
                                                                     Signer/Title




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    14wBella, LLC
    12154 Darnestown Road, Ste 621
    Gaithersburg, MD 20878



    Alonso Ortez, Carlos
    2301 11th St N
    Apt 304
    Arlington, VA 22201



    Alsco
    4900 Philadelphia Way
    Lanham, MD 20706



    Amaya, Christopher
    4427 31 St St S
    Apt 12
    Arlington, VA 22206



    American Express Merchant Financing
    P.O. Box 981555
    El Paso, TX 79998-1555



    Arlington County Treasurer
    P.O. Box 1754
    Merrifield, VA 22116-1754



    Bachan, Wenceslao
    3823 N Pershing Dr
    Apt 1
    Arlington, VA 22203



    Baldor Specialty Foods, Inc.
    155 Food Center Drive
    Bronx, NY 10474



    BallNoodle, LLC
    12154 Darnestown Road, Ste 621
    Gaithersburg, MD 20878
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BellKap, LLC
12154 Darnestown Road, Ste 621
Gaithersburg, MD 20878



Benavides, Nicole
935 S Wakefield St
Arlington, VA 22204



Brantley, Calvin A
2502 S Arlington Mill Drive
Apt E
Arlington, VA 22206



Bull, James
2001 Columbia Pike
Apt 606
Arlington, VA 22204



Capital Meat Co.
P.O. Box 3117
Hyattsville, MD 20784



Chavez Aguilar, Edwin W
225 North Glebe Road
Apt 1
Arlington, VA 22203



Chavez, Jose
4303 N Pershing Dr
#4
Arlington, VA 22203



Coastal Sunbelt Produce
8704 Bollman Place
Savage, MD 20763



CT Corporation
P.O. Box 4349
Carol Stream, IL 60197-4349
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Dominion Virginia Power
P.O. Box 26543
Richmond, VA 23290-0001



EagleBank
130 Rollins Avenue
Rockville, MD 20852



Encarnacion Ortega, Jose A
6101 Edsall Rd
Apt 106
Alexandria, VA 22304



Ferrufino Reyes, Mildred G
804 S Greenbrier St 8th Rd
Apt 3
Arlington, VA 22204



Gabriel Monroy
3404 Castle Way
Silver Spring, MD 20904



Guerrero, Mario
5521 3rd St
Arlington, VA 22204



Hernandez, Michael
4350 N Pershing Dr
Arlington, VA 22203



Hospitality Construction Services Inc.
840 Lake Varuna Mews
Gaithersburg, MD 20878



JRS Associates, Inc.
6393A Rockburn Hill Road
Elkridge, MD 21075
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Julius Silvert, Inc.
P.O. Box 824559
Philadelphia, PA 19182-4559



Kelly Health Insurance
P.O. Box 418926
Boston, MA 02241-8926



LDV Imports
130 West 25th Street, Floor 7
New York, NY 10001



Lopez Cabrera, Yessi
3922 4th St
Arlington, VA 22203



Lopez, Edilzar
3926 4th St N
Apt 4
Arlington, VA 22203



Martinez Rosa, Melva B
3428 Carlin Spring Rd
Falls Church, VA 22041



Martinez, Karen
3064 Patrick Henry Dr
Arlington, VA 22044



Martinez, Martha A
3061 Patrick Henry
Falls Church, VA 22044



Masskap, LLC
12154 Darnestown Road, Ste 621
Gaithersburg, MD 20878
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Mike Isabella, Inc.
12154 Darnestown Road, Ste 621
Gaithersburg, MD 20878



Open Table, Inc.
P.O. Box 671198
Dallas, TX 75267



Oracle America, Inc.
P.O. Box 203448
Dallas, TX 75320-3448



Pepsi-Cola
75 Remittance Drive, Suite 1884
Chicago, IL 60675-1884



Rivera, Nolberta
3722 S 16th St
Arlington, VA 22204



Rosa, Flor D
3428 Carlin Springs Rd
Falls Church, VA 22041



Rosas Ayala, Luis C
415 North Thomas St
Apt 1
Arlington, VA 22203



Samuels & Son Seafood Co.
3400 S Lawrence St
Philadelphia, PA 19148



Servellon Ramirez, Roxana P
1134 Wakefield St
Apt A
Arlington, VA 22204
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The View at Liberty Center
c/o Buzzoto Management Company
Attn: Leasing Office
4000 Wilson Boulevard
Arlington, VA 22203



Tista Bachan, Edgar
5801 Black Hawk Dr
Oxon Hill, MD 20745



Tomas Diaz, Lidia
4317 N Pershing Drive
Apt 4
Arlington, VA 22203



Urquilla Gonzalez, Jose I
804 S Greenbrier St
Apt 3
Arlington, VA 22204



Urquilla Gonzalez, Marlene C
804 S Greenbrier St
Arlington, VA 22204



Vargas Ayala, Raul
5521 3rd St S
Arlington, VA 22204



VEGA Pest Elimination
611 Hollywood Ave
Silver Spring, MD 20904



Velocity Marketing Services
P.O. Box 718
Edgewater, MD 21037
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for BallCantina, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 6, 2018                                                   /s/ Richard J. Oparil
 Date                                                                Richard J. Oparil
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for BallCantina, LLC
                                                                     Porzio, Bromberg & Newman, P.C.
                                                                     1200 New Hampshire Avenue, NW
                                                                     Washington, DC 20036-6802

                                                                     rjoparil@pbnlaw.com




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